               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                       Plaintiff,
                                                 Case No. 93-CR-84-2-JPS-JPS
 v.

 THOMAS HIGHTOWER,
                                                                ORDER
                       Defendant.


       On August 24, 2020, the defendant in this case filed a motion for

compassionate release. (Docket #127). Pursuant to Judge Griesbach’s

January 8, 2019 General Order on the First Step Act of 2018, which appoints

Federal Defender Services of Wisconsin, Inc. (“FDS”) to advise and

represent individuals filing motions for compassionate release, the matter

is herewith referred to FDS for review. FDS must inform the Court by

September 3, 2020 whether it intends to file anything further on the

defendant’s behalf. The Bureau of Prisons is directed to release the

defendant’s medical records to FDS for review. If any medical records are

placed on the docket, they must be filed in a restricted form, so that they

are only accessible to the parties.

       Accordingly,

       IT IS ORDERED that this matter is herewith REFERRED to the

Federal Defender Services for review; and

       IT IS FURTHER ORDERED that Federal Defender Services shall

inform the court by September 3, 2020 whether it intends to file anything

further on the defendant’s behalf.




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    Dated at Milwaukee, Wisconsin, this 27th day of August, 2020.

                              BY THE COURT:



                              ____________________________________
                              J. P. Stadtmueller
                              U.S. District Judge




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